      Case 4:22-cv-04000 Document 11 Filed on 05/03/23 in TXSD Page 1 of 2
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                                May 03, 2023
                      UNITED STATES DISTRICT COURT
                                                                             Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION
 KIPKANO OBEY, et al.,                     §
                                           §
        Plaintiffs.                        §
                                           §
 V.                                        § CIVIL ACTION NO. 4:22-cv-04000
                                           §
 SN SERVICING CORP., et al.,               §
                                           §
        Defendants.                        §
                                           §
                                       ORDER
       It is black letter law that “[f]ederal courts are courts of limited jurisdiction,
and absent jurisdiction conferred by statute, lack the power to adjudicate claims.”
Stockman v. Fed. Election Comm’n, 138 F.3d 144, 151 (5th Cir. 1998). “Federal
courts, both trial and appellate, have a continuing obligation to examine the basis
for their jurisdiction. The issue may be raised by parties, or by the court sua sponte,
at any time.” MCG, Inc. v. Great W. Energy Corp., 896 F.2d 170, 173 (5th Cir.
1990). As every first-year law student quickly discovers, there are two main types
of federal subject matter jurisdiction: federal question jurisdiction and diversity
jurisdiction. Under federal question jurisdiction, a district court can hear and
decide any civil action “arising under the Constitution, laws, or treaties of the
United States.” 28 U.S.C. § 1331. Diversity jurisdiction allows district courts to
entertain cases between citizens of different states where the matter in controversy
exceeds $75,000. See 28 U.S.C. § 1332(a)(1), (b).
       This case is a dispute concerning the foreclosure of real property. The
Plaintiffs—Kipkano Obey, Shinda Obey, Tammu Obey, and Kimkeena Jordon (aka
Kimkeen Obey) (collectively “Obeys”)—filed suit in Texas state court against
Defendants SN Servicing Corporation (“SNSC”) and Wilmington Savings Fund
Society, FSB (“WSFS”). See Dkt. 1-3. Defendants removed the action to federal
district court, arguing that this “Court has original jurisdiction over this action
     Case 4:22-cv-04000 Document 11 Filed on 05/03/23 in TXSD Page 2 of 2




pursuant to []§ 1332(a)(1) because there is complete diversity of the Parties and
the amount in controversy exceeds $75,000.” Dkt. 1 at 2. The Obeys’ Original
Petition filed in Texas state court shows that they are each “residents of Harris
County, Texas” (Dkt. 1-3 at 1), and thus Texas citizens for purposes of determining
diversity of citizenship. The Notice of Removal further alleges that SNSC “is an
Alaska corporation” and that WSFS “is a wholly owned subsidiary of WSFS
Financial Corp., a publicly held corporation.” Id. at 3. According to Defendants,
because “Plaintiff[s are] citizen[s] of the State of Texas, and SN Servicing is a
citizen of the State of Alaska and Wilmington Savings Fund Society, FSB is a citizen
of the State of Delaware[,] this lawsuit is between citizens of different states and
complete diversity exists among the parties.” Id. at 3.
      But the diversity statute requires “complete diversity” of citizenship,
meaning that “a district court cannot exercise diversity jurisdiction if one of the
plaintiffs shares the same state citizenship as one of the defendants.” Whalen v.
Carter, 954 F.2d 1087, 1094 (5th Cir. 1992). A corporation is a citizen of the state
in which it is incorporated and the state in which it has its principal place of
business. See 28 U.S.C. § 1332(c)(1). Thus, to determine whether diversity
jurisdiction is proper, I must determine both the states of incorporation and the
principal places of business for SNSC and WSFS. Yet, the Notice of Removal is
silent as to the principal place of business of either SNSC or WSFS. I must have
this information to ensure that I possess jurisdiction to hear this case. Accordingly,
Defendants are ORDERED to file a letter indicating their principal places of
business no later than 5pm on Friday, May 5, 2023.
      SIGNED this 3rd day of May 2023.


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                                               ANDREW M. EDISON
                                        UNITED STATES MAGISTRATE JUDGE




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